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Don King Productions, Inc. v. Walt Disney Co., 40 So.3d 40, 45 (Fla. 4th DCA 2010)

(“[a]n intention to portray a public figure in a negative light, even when motivated

by ill will or evil intent, is not sufficient to show actual malice unless the publisher

intended to inflict harm through knowing or reckless falsehood.”) (citing Garrison v.

Louisiana, 379 U.S. 64, 73 (1964)); Cochran v. Indianapolis Newspapers, Inc., 175

Ind.App. 548, 372 N.E.2d 1211, 1221 (1978) (evidence of ill will creates jury question on

actual malice where “[t]here are no facts or statements of record which even remotely

support” the defamatory implication at issue). The Defendants’ motive in publishing the

false and defamatory statements supports an inference of actual malice. Farmland

Partners Inc. v. Fortunae, 2021 WL 1978739, at * 2 (D. Colo. 2021); Tomblin v. WCHS-

TV8, 2011 WL 1789770, at * 5 (4th Cir. 2011) (unpublished) (“on the question of

whether WCHS-TV8 deliberately or recklessly conveyed a false message to

sensationalize the news and thus to provide factual support for a finding of malice, there

are disputed facts”).

               d.       The Defendants intentionally abandoned all journalistic standards

and integrity in publishing and republishing the Statements. They did not seek the truth

or report it. They betrayed the truth for the sake of their institutional bias against Plaintiff

and ratings. Rather than minimize harm, Defendants set out to inflict maximum pain and

suffering on Plaintiffs in order to harm Plaintiffs’ reputation. The Defendants published

the false statements in the broadest manner possible for the sole purpose of injuring

Plaintiffs’ reputation. The Defendants’ intentional abandonment of their journalistic

integrity supports an inference of actual malice.

               e.       The Defendants had no factual basis for implying that Plaintiffs




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and defamatory statements, Defendants generated substantial and widespread publicity

about the false statements of or concerning Plaintiffs, and placed Plaintiffs before the

public at large in a false light. Lizza and Hearst placed Plaintiffs in a false light that

would be highly offensive to any reasonable person.

       59.     Lizza and Hearst had knowledge of or acted in reckless disregard as to the

falsity of the publicized matter and the false light in which Plaintiffs would be placed by

the false statements.

       60.     Lizza and Hearst’s actions constitute a false light invasion of Plaintiffs’

privacy under the common law of Iowa.

       61.     As a direct result of Defendants’ false light invasion of privacy, Plaintiffs

suffered actual injury and damages, including, but not limited to, insult, public ridicule,

humiliation, embarrassment, impairment, damage and injury to personal and professional

reputations, out-of-pocket expenses and costs, in the sum of $20,000,000.00 or such

greater amount as is determined by the Jury.

                    COUNT IV – COMMON LAW CONSPIRACY

       62.     Plaintiff restates paragraphs 1 through 61 of this Amended Complaint, and

incorporates them herein by reference.

       63.     Beginning in 2017 and continuing through November 2019, Lizza

combined, associated, agreed or acted in concert with others, including political

operatives and agents of opposition research firms, Nuzzi, agents of Esquire, Fielden,

agents and employees of CNN, and with others in social media for the express purposes

of promoting, publishing and republishing the Article, and defaming and injuring

Plaintiffs. In furtherance of the conspiracy and preconceived plan, Lizza engaged in a




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joint scheme with others the unlawful purpose of which was to injure Plaintiffs’ personal

and professional reputations, advance left-wing narratives and goals of Hearst, Nuzzi and

others, and interfere with and obstruct Devin in the performance of his official

Congressional duties.

        64.   The Article posted to the Internet on September 30, 2018.             Lizza

coordinated publication and republication of the defamation with Nuzzi, CNN and others.

Nuzzi and CNN agreed to participate in the conspiracy and spread the false statements.

Within hours, CNN had cameras on the ground in both Iowa and California at both

NuStar and Devin’s family’s farm seeking comment.

        65.   Lizza acted intentionally, purposefully, without lawful justification, and

with the express knowledge that he and his confederates were defaming Plaintiffs and

impugning their character. As evidenced by the concerted action online and via Twitter,

Lizza acted with the express and malicious intent to cause Plaintiffs permanent harm.

        66.   Lizza’s actions constitute a conspiracy at common law.

        67.   As a direct result of Lizza’s willful misconduct, Plaintiffs suffered actual

damages, including, but not limited to, insult, pain, embarrassment, humiliation, mental

suffering, injury to his reputation, special damages, costs, and other out-of-pocket

expenses, in the sum of $20,000,000.00 or such greater amount as is determined by the

Jury.




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